                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO


                                             )
NEW MEXICO CATTLE GROWERS’                   )
ASSOCIATION,                                 )
                                             )
                      Plaintiff,             )
                                             )
               v.                            )
                                             )
UNITED STATES ENVIRONMENTAL                          Case No. 1:19-cv-988-JHR-SCY
                                             )
PROTECTION AGENCY; ANDREW                    )
WHEELER, in his official capacity as
                                             )
Administrator of the Environmental
                                             )
Protection Agency; UNITED STATES
                                             )
ARMY CORPS OF ENGINEERS; and R.D. )
JAMES, in his official capacity as Assistant )
Secretary for Civil Works, Department of the
                                             )
Army,
                                             )
                                             )
                      Defendants.
                                             )



  CONSENT MOTION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT

       Defendants the United States Environmental Protection Agency (“EPA”), Andrew

Wheeler, in his official capacity as Administrator of EPA, the United States Army Corps of

Engineers, and Ricky James, in his official capacity as Assistant Secretary of the Army for Civil

Works (collectively the “Agencies”) request an extension of 60 days to respond to Plaintiff’s

complaint. Plaintiff consents to the Agencies’ requested extension. The grounds for this

motion are as follows:

       1.      In its Complaint, Plaintiff challenges a 2019 rule defining “waters of the United

States” under the Clean Water Act, 84 Fed. Reg. 56,626 (Oct. 22, 2019). See Compl. ¶¶ 1-2.
On January 23, 2020, the Administrator of EPA and the Assistant Secretary of the Army for

Civil Works signed a final rule entitled “Navigable Waters Protection Rule: Definition of

‘Waters of the United States.’” 1 The Navigable Waters Protection Rule provides a new

definition of “waters of the United States” and will replace the existing definition. The rule will

be published in the Federal Register and will be effective 60 days thereafter.

       2.      The Agencies’ deadline to answer or otherwise respond to the Complaint is

currently April 30, 2020. See Order, ECF No. 17. The Agencies previously sought and

received a two-week, 60-day, and 30-day extension of this deadline. See ECF Nos. 12-17. The

Agencies request that their deadline to respond to the Complaint be extended by an additional

60 days, or until June 29, 2020.

       3.      There is good cause to grant this motion. See Fed. R. Civ. P. 6(b)(1). Plaintiff is

considering filing a supplemental complaint to include a challenge to the new rule. Efficiency

and judicial economy weigh in favor of having Defendants file a responsive pleading only after

Plaintiff and this Court decide whether a supplemental complaint is appropriate in this matter.

       4.      The additional time will also permit the Agencies to continue analyzing how the

January 23, 2020 Navigable Waters Protection Rule may affect the issues and arguments at play

in this litigation and other related legal challenges regarding the regulatory definition of “waters

of the United States” under the Clean Water Act.

       5.      Counsel for the Agencies have conferred with counsel for Plaintiff. Plaintiff

consents to the requested extension.


1
  The pre-publication version is available on EPA’s website, https://www.epa.gov/nwpr/final-
rule-navigable-waters-protection-rule (last visited April 14, 2020).
                                                  2
        6.      No party will be prejudiced by the requested extension.

        For the foregoing reasons, the Agencies request that the Court grant this motion and

enter an order extending the Agencies’ deadline to respond to the Complaint to June 29, 2020.



Dated: April 17, 2020                          Respectfully submitted,

                                               /s/ Erica Zilioli
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                                  CERTIFICATE OF SERVICE

        I hereby certify that, on April 17, 2020, I electronically transmitted the foregoing to the

Clerk of Court using the ECF system for filing and transmittal of a Notice of Electronic Filing to

registered counsel for all parties.


                                                       /s/ Erica Zilioli




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